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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  Fort Worth Division

  Outsourcing Facilities Association, et al.,

                         Plaintiffs,

         v.                                          Case No. 4:24-cv-00953-P

  U.S. Food and Drug Administration, et al.,

                         Defendants, and

  Eli Lilly and Company,

                        Intervenor-Defendant.

           Brief in Support of Federal Defendants’ Motion for Summary Judgment

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                                          INTRODUCTION
      Congress authorized the Food and Drug Administration (FDA) to determine whether a drug

 is “in shortage in the United States.” FDA’s determination of a drug shortage triggers a variety of

 statutory mechanisms designed to alleviate the shortage and provide additional flexibilities to

 mitigate the disruption the shortage may cause. One such mechanism involves compounded

 drugs—medications that FDA does not approve or evaluate for safety, effectiveness, or quality

 before they are marketed.

      Ordinarily, the Federal Food, Drug, and Cosmetic Act (FDCA) restricts the compounding of

 drugs that are essentially copies of FDA-approved drugs. When FDA determines that there is a

 nationwide shortage of a particular drug, however, the FDCA allows, during the shortage, certain

 compounding that it would otherwise restrict. Correspondingly, once FDA finds the shortage no

 longer exists, the FDCA’s temporary allowance of such compounding ends.

      In 2022, FDA deemed tirzepatide injection products—approved drugs manufactured and

 marketed by Eli Lilly and Company (Lilly) under the names Mounjaro (for type 2 diabetes) and

 Zepbound (for obesity and sleep apnea)—to be in shortage. The FDCA thus stopped restricting

 certain compounding of tirzepatide injection products. But in December 2024, after considering

 evidence from multiple sources—including data provided by Lilly and information submitted by
 Plaintiffs and individual patients and pharmacies—FDA determined that the shortage was

 resolved. To avoid disrupting ongoing patient treatment and promote an orderly transition, FDA

 also announced that it would temporarily not take action against compounders for certain

 violations of the FDCA. That period ended in March 2025.

      Plaintiffs, a trade association for drug compounders and a pharmacy engaged in
 compounding, challenge the factual and legal bases for FDA’s December 2024 determination that

 the shortage is resolved. None of their objections has merit.

      FDA applied the plain meaning of the statute to determine whether a nationwide shortage

 existed. It reasonably credited evidence from Lilly showing that the company was fulfilling all

 orders while maintaining a surplus of                                                     . FDA
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 also considered the available information from compounding pharmacies and determined that

 Lilly’s supply of                   exceeded even a generous estimate of the compounders’
 production. And as the Court recognized in its decision denying Plaintiffs’ motion for a

 preliminary injunction, it was not unreasonable for FDA to give more weight to specific, reliable,

 comprehensive, and current information from Lilly than to anecdotal evidence from

 compounders and others.

      FDA’s decision was also procedurally proper. As a general matter, an agency has discretion
 to choose whether to proceed by rulemaking or adjudication. The statutory authority at issue here

 and the facts of this case left FDA with only one viable option: adjudication. The FDCA requires

 that the agency keep the shortage list “up-to-date,” prohibits the agency from publicly disclosing

 the vast majority of information considered for its determinations, and authorizes FDA to keep

 confidential even the existence of its decision. The agency reasonably found those requirements

 were incompatible with notice-and-comment rulemaking and so proceeded by adjudication.

      And FDA’s decision fits squarely within the scope of an adjudication under the

 Administrative Procedure Act (APA). Unlike a rule, it did not establish any new law or policy

 that applies only prospectively. Instead, it resolved a discrete controversy by applying the

 statutory definition of “shortage” to a particular set of facts about the supply and demand of

 tirzepatide injection products. Moreover, because the decision is a declaratory order (rather than

 a legislative rule), it was not necessary for FDA to publish the decision in the Federal Register.

      For these reasons, the Court should enter summary judgment for Federal Defendants.

                                           BACKGROUND

 I.   Statutory background

      A.   FDA’s regulation of drug manufacturing
      The FDCA generally prohibits the introduction of a “new drug” into interstate commerce

 without FDA approval. 21 U.S.C. § 355(a). To obtain FDA approval, a manufacturer usually

 must submit a new drug application (NDA). Id. § 355(b)(1). FDA approves such applications


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 only if it finds, based on the evidence before it, that the drug is safe and effective for its intended

 use under the conditions of use described in the drug’s labeling. Id. § 355(c)(1)(A), (d). Once an

 NDA is approved, facilities producing the drug must comply with “current good manufacturing

 practice” (cGMP) requirements, which “assure that such drug meets the requirements of this

 chapter as to safety and has the identity and strength, and meets the quality and purity

 characteristics, which it purports . . . to possess.” Id. § 351(a)(2)(B); see 21 C.F.R. Parts 210,

 211. An NDA approval has significant effects on third parties. For example, for certain new drug

 approvals, the statute prohibits approvals of other manufacturers’ applications for drugs using the

 same active moiety for five years (often referred to as “exclusivity” for the first drug approved).

 See 21 U.S.C. § 355(c)(3)(E)(ii).

      Drug compounding is generally “a process by which a pharmacist or doctor combines,

 mixes or alters ingredients to create a medication tailored to the needs of an individual patient.”

 Thompson v. W. States Med. Ctr., 535 U.S. 357, 360–61 (2002). Unlike FDA-approved drugs,

 compounded drugs do not “undergo[] FDA premarket review for safety, effectiveness, and

 quality.” AR10. Compounding pharmacies and physicians (“503A compounders”) whose drugs

 meet the conditions of 21 U.S.C. § 353a are not required to follow cGMP, among other things.

 Under 21 U.S.C. § 353b, on the other hand, outsourcing facilities (“503B compounders”) are

 subject to, among other things, cGMP, registration, and product reporting requirements, but like

 503A compounders, the drugs they manufacture do not undergo FDA premarket review for

 safety, effectiveness, and quality.

      Of particular importance here, the FDCA restricts production of compounded drugs that are

 “essentially a copy” of an FDA-approved drug, for both types of compounders. 21 U.S.C.

 §§ 353a(b)(1)(D), 353b(a)(5). This statutory restriction “works to protect the new drug approval

 process and, by extension, provides a market advantage to FDA-approved drugs” over

 compounded drugs. Athenex Inc. v. Azar, 397 F. Supp. 3d 56, 71 (D.D.C. 2019). But certain

 restrictions that typically apply to compounding copies of an approved drug are temporarily



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 lifted when the drug appears on the drug shortage list. See 21 U.S.C. §§ 353a(b)(1)(D),

 353b(a)(5).

      B.   Drug shortages
      The FDCA defines a “drug shortage” as “a period of time when the demand or projected

 demand for the drug within the United States exceeds the supply of the drug.” 21 U.S.C.

 § 356c(h)(2). Congress requires FDA to “maintain an up-to-date list of drugs that are determined

 by [FDA] to be in shortage in the United States.” Id. § 356e; see 21 C.F.R. § 314.81(b)(3)(iii)(f)

 (adopting the definition of “shortage” from 21 U.S.C. § 356c(h)(2)). Because FDA must consider

 drug manufacturers’ confidential commercial information and trade secrets to determine whether

 a drug is in shortage, Congress provided that “[n]othing in this section alters or amends” 18

 U.S.C. § 1905 or 5 U.S.C. § 552(b)(4), which collectively protect such information from

 disclosure. 21 U.S.C. § 356e(c)(2). Furthermore, Congress empowered FDA to “choose not to

 make information collected under this section publicly available” if doing so would “adversely

 affect the public health,” such as where disclosing the information would “increas[e] the

 possibility of hoarding” the drug. Id. § 356e(c)(3).

      When a drug appears on the shortage list, certain restrictions on compounding copies of the

 approved drug are temporarily lifted. As relevant here, the limitation on 503B compounders

 producing a drug that is “identical or nearly identical” to an approved drug does not apply. Id.

 § 353b(a)(5), (d)(2)(A); see also id. § 353b(a)(2)(A)(ii) (exemption from limitation on

 compounding using bulk drug substances). Also, the limitation on 503A compounders producing

 “drug products that are essentially copies” of approved drugs “regularly or in inordinate

 amounts” does not apply to drugs on the shortage list because FDA considers those drugs not

 “commercially available.” Id. § 353a(b)(1)(D).




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 II. Factual and procedural background
      In May 2022, FDA approved Lilly’s NDA for Mounjaro. See FDA App. 4. 1 Under 21 U.S.C.

 § 355(c)(3)(E)(ii), FDA generally may not approve an NDA for a drug product containing

 tirzepatide as its active moiety from any other manufacturer until 2027. Due to high demand for

 Mounjaro that exceeded nationwide supply, FDA added it to the drug shortage list in December

 2022. FDA App. 4. FDA approved Lilly’s NDA for Zepbound in November 2023 and for the

 same reason added it to the drug shortage list in April 2024. Id. 2

      FDA initially declared the shortage resolved on October 2, 2024. Shortly thereafter,

 Plaintiffs challenged that decision and, on October 8, 2024, moved for a preliminary injunction.

 ECF Nos. 1, 7. Three days later, Federal Defendants moved to voluntarily remand this case to the

 agency for reevaluation. ECF No. 27. Federal Defendants made clear that Plaintiffs could submit

 additional information regarding tirzepatide’s availability for FDA’s consideration. Id. at 4. The

 Court granted Federal Defendants’ motion and stayed proceedings. ECF No. 28.

      On December 19, 2024, FDA issued a declaratory order finding that the shortage of

 tirzepatide was resolved. 3 After review of “detailed information and data regarding” Lilly’s
 production and inventory of the drugs “at various points in time,” FDA determined that Lilly was

 meeting or exceeding current demand for the products. FDA App. 2. Moreover, FDA found that

 Lilly had “developed reserves” of “finished product” and “significant units of semi-finished

 product,” and that Lilly had plans for “substantial additional production” in the near future. Id.

 As such, FDA concluded that Lilly’s “supply will meet or exceed projected demand.” Id.




 1
  Citations to “FDA App.” are to excerpts of the administrative record in this case, see ECF
 No. 76 (certified index to administrative record), and are provided in an appendix to this brief.
 2
  For simplicity, the term “tirzepatide” in this brief refers to the products declared to be in
 shortage in December 2022 and April 2024, but not other tirzepatide products that have not been
 declared to be in shortage.
 3
  The December 19, 2024 declaratory order “revokes and replaces FDA’s October 2, 2024
 decision on the same subject.” FDA App. 1.
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      In addition to data from Lilly, FDA also considered information from “patients, healthcare

 providers, and others, including compounders, along with data from other sources that [FDA]

 independently identified.” FDA App. 2. However, this information “ha[d] important limitations”

 and “[did] not undermine or outweigh” Lilly’s evidence that its supply was currently meeting or

 exceeding demand and would also likely meet or exceed projected demand. Id. FDA thus

 declared the shortage of tirzepatide injection products resolved. FDA App. 12. FDA also

 announced temporary enforcement discretion for certain violations of the FDCA relating to

 compounding tirzepatide injection products. See FDA App. 3. The Declaratory Order was

 supported by a decision memorandum laying out in detail the agency’s analysis and conclusions.

 See FDA App. 13–44.

      In January 2025, Plaintiffs filed an amended complaint, ECF No. 68 (Am. Compl.) and a

 motion for a preliminary injunction, ECF No. 64, which the Court denied on March 5, 2025,

 ECF No. 100 (PI Order). The parties now file cross-motions for summary judgment.

                                        LEGAL STANDARDS
      In an APA case, the court reviews whether the challenged action was “arbitrary, capricious,

 an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). “Judicial

 review under that standard is deferential,” FCC v. Prometheus Radio Project, 592 U.S. 414, 423

 (2021), “narrow,” Motor Vehicle Mfrs. Ass’n, Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29,

 42 (1983), and based solely on the administrative record, Camp v. Pitts, 411 U.S. 138, 142

 (1973) (per curiam). “A court simply ensures that the agency has acted within a zone of

 reasonableness and, in particular, has reasonably considered the relevant issues and reasonably

 explained the decision.” Prometheus Radio Project, 592 U.S. at 423. In so doing, a court may not

 “substitute its judgment for that of the agency,” Citizens to Preserve Overton Park, Inc. v. Volpe,

 401 U.S. 402, 416 (1971), but must instead uphold the agency’s action if it is “rational, based

 upon consideration of the relevant factors and within the scope of the authority delegated to the

 agency by the statute,” State Farm, 463 U.S. at 42.



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                                              ARGUMENT

 I.   FDA reasonably determined that the shortage was resolved
      In December 2024, the question before FDA was whether Lilly’s tirzepatide products still

 were “in shortage in the United States.” 21 U.S.C. § 356e(a). Because the statutory provision

 creating the shortage drug list does not itself define a “shortage,” FDA borrows the definition

 from a related provision. See Taniguchi v. Kan Pac. Saipan, Ltd., 566 U.S. 560, 566 (2012)

 (examining whether statutory term is defined in the particular provision “or in any other relevant

 statutory provision”). A “shortage” is “a period of time when the demand or projected demand

 for the drug within the United States exceeds the supply of the drug.” 21 U.S.C. § 356c(h)(2); 21

 C.F.R. § 314.81(b)(3)(iii)(f) (adopting that definition for purposes of the drug shortage list).

 Thus, to determine whether tirzepatide was in shortage, “FDA evaluate[d] the supply and

 demand or projected demand of the drug on a nationwide level, across the entire market, not at

 the local level.” FDA App. 15. This interpretation, giving effect to “the plain, obvious and

 rational meaning of” 21 U.S.C. § 356e, “is always to be preferred.” Lynch v. Alworth-Stephens

 Co., 267 U.S. 364, 370 (1925) (quotation omitted).

      Plaintiffs assert that demand for compounded products should be considered part of the
 current demand for Lilly’s products. Am. Compl. ¶ 101. But if a compounded product becomes

 part of the demand for the drug, it necessarily follows that the compounded product becomes part

 of the supply of the drug, and vice versa. Thus, following Plaintiffs’ theory to its logical

 conclusion, the moment the supply of both the compounded and approved drug met overall

 demand, FDA would declare the shortage over and compounding would be curtailed. See 21

 U.S.C. §§ 353a(b)(1)(D), 353b(a)(5), 353b(d)(2)(A), 353b(a)(2)(A)(ii). And without that
 compounded product on the market to meet some of the demand, it would immediately create a

 new shortage—a cycle that would continue indefinitely. See FDA App. 34–35 n.103. Congress

 clearly did not intend this absurd result. See Griffin v. Oceanic Contractors, Inc., 458 U.S. 564,

 575 (1982) (“[I]nterpretations of a statute which would produce absurd results are to be avoided

 if alternative interpretations consistent with the legislative purpose are available.”).

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      Equally misplaced is Plaintiffs’ argument that FDA “ignore[d]” patients’ inability to fill

 their prescriptions and did not consider “supply chain disruptions” to be “evidence” of a

 shortage. Am. Compl. ¶ 100 (Count Five). As a factual matter, FDA considered the available

 information on patient access and supply chain disruptions. See FDA App. 28–41. It simply

 concluded that other, more reliable evidence outweighed it and demonstrated the shortage had

 ended. Cf. Prometheus Radio Project, 592 U.S. at 426 (“The FCC did not ignore the Free Press

 studies. The FCC simply interpreted them differently.”). And “disagreement by itself is

 insufficient to demonstrate that [FDA] failed to examine the relevant data and articulate a

 satisfactory explanation for its action.” AT&T Servs., Inc. v. FCC, 21 F.4th 841, 851 (D.C. Cir.

 2021).

      Plaintiffs also allege that the Declaratory Order was arbitrary and capricious because it

 failed to “examine the relevant data,” identify a “rational connection between the facts and the

 choice made,” or address “the most basic parameters of its analysis.” Am. Compl. ¶¶ 80, 83

 (Count Two); see id. ¶¶ 85–95 (Counts Three and Four). The record shows otherwise. FDA

 thoroughly considered a host of data provided by Lilly and other sources (including Plaintiffs),

 reasonably found that “[Lilly’s] supply [was] currently exceeding demand and [would] meet or

 exceed projected demand across all strengths of Mounjaro and Zepbound,” and thus permissibly

 concluded that the shortage was resolved. FDA App. 17.

      With respect to current demand, FDA first examined Lilly’s stock reports (data on Lilly’s

 inventory and orders for its tirzepatide products, broken down by dosage strength), and found

 that they “demonstrate[d] that Lilly ha[d] been filling wholesale orders as they [were] received

 while generally maintaining product in inventory net of open orders.” FDA App. 17; see FDA

 App. 45–113, 132–213. Lilly explained that “it does not—and has not—limited the ability of any

 wholesaler to place orders for any quantities” of its tirzepatide products. FDA App. 17, 174.

 While Lilly reported



                                                        . FDA App. 17–19, 209. In addition,

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 Lilly’s data showed that it had on hand over            doses of semi-finished products—
 products that were manufactured but not yet labeled or packaged—which FDA found

 “provide[d] assurance that Lilly will continue to be able to fill orders as they are received.” FDA

 App. 18.

      Separately and in addition to Lilly’s inventory data, Lilly’s data on cumulative supply and

 demand further demonstrated that cumulative supply for Mounjaro and Zepbound by the
                 had exceeded demand for all dosages by               doses. FDA App. 19–22,

 208. Finally, FDA found that wholesale distributors and retail pharmacies had additional

 inventory on hand, beyond the inventory already accounted for in Lilly’s possession. FDA

 App. 23–25, 171–74. And



                                                FDA App. 23, 172. As such, FDA reasonably found

 that “taken as a whole,” the data Lilly submitted supported the conclusion that supply was

 currently meeting or exceeding demand. FDA App. 27.

      FDA also reasonably concluded that Lilly’s supply would meet or exceed projected demand.
 As FDA explained, Lilly projected demand based on

                                                           , among other factors. FDA App. 25,

 146. Lilly’s supply projections were based on

                                                                               . FDA App. 25 n.53,

 144, 146. Lilly projected that,



                                                 . FDA App. 27, 208. FDA noted that

                                                                                               .

 FDA App. 26 (comparing FDA App. 162 and FDA App. 191). FDA thus concluded that, “based

 on our best judgment looking at the available information with its limitations, [Lilly] will meet or

 exceed projected demand across all strengths of Mounjaro and Zepbound.” FDA App. 27.



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      FDA also considered supply- and demand-related information from a variety of other

 sources, including Plaintiffs and individual patients and pharmacies, as well as news articles and

 blog posts, comments submitted to FDA’s compounding docket, and reports of high volume of

 demand for compounded tirzepatide. FDA App. 28–35. This information included, for example,

 submissions regarding individual patients’ inability to access Mounjaro or Zepbound, FDA

 App. 28–31, and screenshots from wholesalers’ websites indicating that Mounjaro or Zepbound

 products were out of stock or limited in the amount that could be ordered, FDA App. 31–33.

      The agency “carefully evaluat[ed] this information” but determined that it had “important

 limitations,” FDA App. 14, and thus “[did] not undermine or outweigh . . . the detailed

 quantitative picture of the supply and demand situation both over time, and at the national level,”

 that Lilly’s data provided, FDA App. 31 (patient reports); see also FDA App. 32–34 (similar

 conclusions for each category). For example, many submissions from individual patients had no

 indication of when the patient had trouble accessing tirzepatide products. Nor did these reports

 use any consistent definition for what it meant to have trouble accessing a drug—a nebulous

 concept that could encompass, for many of the reports, not just an out-of-stock prescription, but

 also an inability to get a prescription from a doctor or an inability to get insurance coverage for

 the drug. FDA App. 29–30. Moreover, FDA credited Lilly’s explanations that gaps in availability

 at individual pharmacies were likely caused by the “practical dynamics” of the supply chain

 between Lilly’s production and the end user, rather than a national shortage of the products. FDA

 App. 30, 117. FDA similarly reasoned that the same dynamics most likely explained the

 screenshots of wholesalers’ websites that purported to indicate that wholesalers were restricting

 sales of Lilly’s products or that they lacked inventory. FDA App. 31–33. Further, given the

 significant limitations of the screenshot evidence, and Lilly’s explanations, FDA concluded that

 “the screenshots do not provide reliable evidence in assessing whether supply of Mounjaro

 and/or Zepbound is meeting demand.” FDA App. 33.

      FDA also considered potential future increased demand from some patients receiving

 compounded tirzepatide switching to use of Lilly’s product. The agency “recognize[d] that

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 significant compounding of tirzepatide injection products is occurring, and that some patients

 currently receiving those products can be expected to seek Lilly’s approved products at a future

 point when compounding is curtailed.” FDA App. 39. As FDA explained, there was limited

 information available about the volume of products that compounders were producing. FDA

 App. 36–38. But the agency acknowledged the limitations of the data, made conservative
 assumptions for purposes of its decision (e.g., by assuming that submitted numbers were accurate

 and adding all available estimated volumes together), and noted that even the most generous

 estimate the agency could make of the total volume compounded “would represent a very small

 amount” compared to Lilly’s supply of over                    per month and substantial finished

 and semi-finished product inventory. FDA App. 24. FDA also observed that some patients

 receiving compounded tirzepatide would not start treatment with Lilly’s products for a variety of

 reasons, including that Lilly’s products were significantly more expensive than the compounded

 products. FDA App. 38–39. FDA thus reasonably predicted, based on the information available,

 that Lilly’s supply would be able to accommodate any increased demand from patients currently

 receiving a compounded product and that the information from other sources “does not alter [its]

 conclusions” regarding Lilly’s ability to meet current and projected demand. FDA App. 28; see

 Prometheus Radio Project, 592 U.S. at 427 (upholding agency’s “reasonable predictive judgment

 based on the evidence it had”).

      In denying Plaintiffs’ motion for a preliminary injunction, this Court recognized the

 reasonableness of FDA’s decision. For example, while Plaintiffs had argued that FDA was

 required to identify and analyze a single precise window of time to find a shortage resolved, see

 Am. Compl. ¶ 82 (Count Two), the Court noted that FDA had “sufficiently identified what time

 period it considered in making the shortage determination.” PI Order 18. Indeed, the statute does

 not require FDA to analyze a particular period of time, and FDA properly kept the “list of drugs”

 it “determine[d] to be in shortage” “up-to-date,” 21 U.S.C. § 356e(a), by finding that the “period

 of time” when supply of tirzepatide failed to meet demand was over, id. § 356c(h)(2).



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      Similarly, while Plaintiffs alleged that FDA’s decision was “based solely (or primarily) on

 statements by the manufacturer that it can meet demand, despite substantial probative evidence

 proving to the contrary,” Am. Compl. ¶ 94 (Count Four), the Court rightly disagreed. It

 recognized that it was “not unreasonable for the FDA to give more weight to specific, reliable,
 comprehensive, and current information from Lilly” than it gave to other sources that “lacked the

 same detailed data.” PI Order 26. Further, the Court observed that FDA “did not blindly rely on

 Lilly’s assertions and evidence” but instead “scrutinized and rejected some of Lilly’s evidence

 based on the same standards it applied to the countervailing evidence.” PI Order 24 n. 12.
      In sum, FDA applied the plain statutory meaning to the evidence before it and arrived at a
 well-reasoned decision. “The APA requires no more.” Prometheus Radio Project, 592 U.S. at

 427; see Dep’t of Com.v. State of New York, 588 U.S. 752, 777 (2019) (“It is not for us to ask

 whether his decision was ‘the best one possible’ or even whether it was ‘better than the

 alternatives.’”) (quoting FERC v. Elec. Power Supply Ass’n, 577 U.S. 260, 292 (2016)). Federal

 Defendants are therefore entitled to summary judgment on Counts Two, Three, Four, and Five.

 II. FDA reasonably proceeded by declaratory order rather than rulemaking
      FDA’s shortage determination was a classic adjudication under the APA because it applied

 the statutory definition of “shortage” to resolve a discrete controversy. Contrary to Plaintiffs’

 allegations, FDA’s determination was not a legislative rule that must go through notice-and-

 comment rulemaking. Am. Compl. ¶¶ 69–78 (Count One). And because FDA’s determination

 was not a legislative rule, it necessarily follows that Plaintiffs are also incorrect when they claim

 that the decision needed to be published in the Federal Register under 5 U.S.C. § 552(a)(1)(D).

 Am. Compl. ¶¶ 103–107 (Count Six). Federal Defendants are therefore entitled to summary

 judgment on those counts.

      A.   FDA properly issued a declaratory order
      FDA properly issued its shortage determination through adjudication. Congress did not

 specify what procedure FDA must use to make shortage determinations. 21 U.S.C. § 356e.


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 Accordingly, under the default rule, the decision to proceed by adjudication rather than

 rulemaking “‘is one that lies primarily in the informed discretion of the administrative agency,’”

 McDonald v. Watt, 653 F.2d 1035, 1042 (5th Cir. 1981) (quoting SEC v. Chenery Corp., 332 U.S.

 194, 203 (1947)), and that decision is reviewable for an abuse of discretion, NLRB v. Bell

 Aerospace Co., 416 U.S. 267, 294 (1974). An agency’s judgment that there is “reason to . . .

 develop[] its standards in a case-by-case manner” with attention to the specific facts of each case

 “is entitled to great weight.” Id.

      FDA reasonably concluded that adjudication was the only viable option here for multiple

 reasons. FDA App. 5. First, Congress requires the list to be “up-to-date.” FDA App. 8 (citing 21

 U.S.C. § 356e(a)). The list must therefore “extend[] up to the present time” and “us[e] or

 includ[e] the latest facts.” Up-to-date, Merriam-Webster New World College Dictionary (4th ed.

 2009). For tirzepatide, FDA considered supply-and-demand data submitted throughout fall and

 winter 2024 to reach its shortage determination. See FDA App. 17 n.16. Even expeditious notice-

 and-comment rulemaking would not permit such timely action. FDA App. 8.

      In denying Plaintiffs’ motion for a preliminary injunction, the Court recognized that notice-

 and-comment rulemaking would inhibit FDA’s performance of its statutory obligations as the

 time required for such rulemaking would prevent the shortage list from being “up-to-date.” 21

 U.S.C. § 356e(a). “Given the constant fluctuation in national supply and demand numbers for a

 given drug,” the Court observed, “a rule based on data that is more than a month old cannot be

 said to be based on ‘the latest information’ available.” PI Order 9–10. And if shortage resolution

 decisions required rulemaking, the Court explained, so must shortage listing decisions, and the

 “lengthy rule-making process” to add and subtract drugs from the shortage list “cannot be said to

 be congruent with Congress’s mandate for the FDA to maintain an ‘up-to-date list of drugs . . . in

 shortage in the United States.’” Id. at 10 (quoting 21 U.S.C. § 356e(a)).

      Second, FDA could not engage in meaningful public notice-and-comment because Lilly

 maintained as confidential the core, material facts. To satisfy the APA’s requirement that a

 proposed rule “give interested persons an opportunity to participate,” 5 U.S.C. § 553(c), an

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 agency must “reveal[] for public evaluation” the “technical studies and data upon which the

 agency relies,” and in particular, “the most critical factual material used by the agency,”

 Chamber of Com. v. SEC, 443 F.3d 890, 899–900 (D.C. Cir. 2006) (internal quotations omitted).

 An agency therefore “commits serious procedural error when it fails to reveal portions of the

 technical basis for a proposed rule in time to allow for meaningful commentary.” Solite Corp. v.

 EPA, 952 F.2d 473, 484 (D.C. Cir. 1991).

      In the circumstances of this case, the most critical factual material was the manufacturer’s

 confidential business information, all of which FDA is prohibited from disclosing. See, e.g.,

 21 U.S.C. §§ 331(j), 356e(c)(2); 21 C.F.R. § 314.81(b)(2)(vii)(b). The agency also could not

 summarize that data in a way that allowed for meaningful public comment; only the agency’s

 conclusions based on the data are disclosable. See ECF No. 67, Ex. 1, OFA PI Motion App. 17–

 49 (redacted decision memorandum). Consequently, FDA could not have issued a proposed rule

 to amend the shortage list that “reveal[ed] for public evaluation” the “most critical factual

 material” upon which the agency relied. Chamber of Com., 443 F.3d at 899–900. As the Court

 correctly concluded, maintaining the confidentiality of Lilly’s information while also providing

 the public meaningful opportunity to comment was an “unattainable” goal. PI Order 9 n.3.

      Third, Congress also gave FDA the discretion to withhold information that is not

 confidential, including the very existence of a shortage. 21 U.S.C. § 356e(c)(3). The public-

 health exception authorizes FDA to “choose not to make information” on the shortage list public

 if it “determines that disclosure of such information would adversely affect the public health

 (such as by increasing the possibility of hoarding or other disruption of the availability of drug

 products to patients).” Id. That provision is fundamentally incompatible with public notice and

 comment. In at least those cases, FDA must proceed by adjudication.

      Of the different types of adjudications under the APA, declaratory orders allow agencies to

 efficiently apply existing policy to a set of facts without the need for any particular party to risk

 penalty or sanction. 5 U.S.C. § 554(e); see City of Arlington, Tex. v. FCC, 668 F.3d 229, 243 (5th

 Cir. 2012); Qwest Servs. Corp. v. FCC, 509 F.3d 531, 536–37 (D.C. Cir. 2007). Drug shortage

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 determinations, given their discrete nature and context, are well-suited to resolution through a

 declaratory order—as FDA did here. See, e.g., Am. Airlines, Inc. v. Dep’t of Transp., 202 F.3d

 788, 796–97 (5th Cir. 2000) (affirming agency’s decision to issue a declaratory order through

 adjudication).

      Although the “line between” adjudication and rulemaking “is frequently a thin one,” Gen.

 Am. Transp. Corp. v. Interstate Com. Comm’n, 83 F.2d 1029, 1030 n.2 (D.C. Cir. 1989), FDA’s

 shortage determination had none of the characteristics of a rule. The “basic distinction between”

 the two is that adjudications are “proceedings designed to adjudicate disputed facts in particular

 cases,” whereas rulemakings are “proceedings for the purpose of promulgating policy-type rules

 or standards.” United States v. Fla. E. Coast Ry. Co., 410 U.S. 224, 244–45 (1973); see 5 U.S.C.

 §§ 551(4) (defining “rule”), 551(6) (“order”), 551(7) (“adjudication”). FDA applied the statutory

 definition of shortage to “a particular set of disputed facts,” Fla. E. Coast Ry., 410 U.S. at 246—

 namely, to data demonstrating the current and projected nationwide supply and demand of

 tirzepatide, 21 U.S.C. § 356c(h)(2). The agency did the same thing in December 2022 to find

 there was a shortage. The difference in December 2024 was the evidence, demonstrating that

 FDA decided “each case upon individual grounds,” Fla. E. Coast Ry., 410 U.S. at 245 (citation

 omitted), and applied the law consistently on “a case-by-case” basis, Bell Aerospace, 416 U.S. at

 291–94.

      Moreover, FDA’s findings about the availability of a particular drug as of the time of its

 decision are not “applicable across the board” nor “generalized [in] nature.” Fla. E. Coast Ry.,

 410 U.S. at 246. Nor were the agency’s factual findings “used in the formulation of a basically

 legislative-type judgment.” Id. And in contrast to the purely “prospective application” of a rule,

 id., FDA’s adjudication determined “present rights and liabilities” by finding that there was not

 presently a shortage, Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 221 (1988) (Scalia, J.,

 concurring) (quoting Attorney General’s Manual on the APA 14 (1947)).




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      B.   Any procedural error was harmless
      Even if FDA’s determination that the shortage was resolved should have been subject to

 notice and comment, any error would be harmless. See 5 U.S.C. § 706. If an agency errs by not

 following notice-and-comment procedures, the error is harmless if “the lack of notice and

 comment did not prejudice” plaintiffs. City of Arlington, 668 F.3d at 244. That is the case here.

      As early as August 2024, through updates submitted to the agency’s public drug shortages

 website, Lilly indicated that it believed the shortage had ended. See FDA App. 16 n.15. Two

 months after that, FDA notified the public about its initial determination through its website.

 FDA App. 8–9. FDA then openly solicited comment and data, ECF No. 27 at 4, and the public

 had more than two-and-a-half months to submit information. Though FDA was unable to

 disclose the most critical factual material, FDA “received and considered comments from” a

 variety of “interested parties,” City of Arlington, 668 F.3d at 245, including from individual

 patients, pharmacy compounders, outsourcing facilities, trade associations, and telehealth

 companies, see FDA App. 14, 16–29. Plaintiffs were among the many commenters. See, e.g.,

 FDA App. 214–28 (comment from FarmaKeio, with attachments); FDA App. 229–61 (one of

 multiple comments from counsel for OFA, with attachments). Because Plaintiffs “received notice

 of the issues pending before [FDA] and had the ability to comment on [them] in the agency

 proceedings,” and FDA already “considered and addressed” the issues raised in this litigation,

 Plaintiffs suffered no prejudice from a lack of notice and comment. City of Arlington, 668 F.3d at

 245–46.




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                                        CONCLUSION
     Summary judgment should be entered for Federal Defendants.

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                                  CERTIFICATE OF SERVICE

      I hereby certify that this document, filed through the CM/ECF system, will be sent by

 electronic mail to the registered participants as identified on the Notice of Electronic Filing.


 April 2, 2025                                         /s/ Oliver McDonald
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